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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  QORVO, INC.                                        )
                                                     )
                               Plaintiff,            )
                                                     ) C.A. No. 21-1417-JPM
                       v.                            )
                                                     ) DEMAND FOR JURY TRIAL
  AKOUSTIS TECHNOLOGIES, INC. and                    )
  AKOUSTIS, INC.                                     )
                      Defendants.                    )
                                                     )
                                                     )
                                                     )
                                                     )

      PLAINTIFF QORVO, INC.’S MOTION TO ALTER OR AMEND THE MAY 20,
        2024 JUDGMENT REGARDING QORVO’S CLAIM FOR UNFAIR AND
                      DECEPTIVE TRADE PRACTICES

         Pursuant to Federal Rule of Civil Procedure 59(e), Plaintiff Qorvo, Inc. (“Qorvo”)

  respectfully moves this Court to amend and/or alter the Judgment as entered against defendants

  Akoustis Technologies, Inc. and Akoustis, Inc. (collectively, “Akoustis”) on May 20, 2024 (D.I.

  602) (the “Judgment”) on the following grounds:

            •   The jury’s verdict should be amended to reflect “Yes” under Question 2(a), finding

                that Akoustis violated the UDTPA in connection with misappropriation of Qorvo’s

                trade secret and confidential information, because the jury found that Akoustis

                violated the North Carolina Trade Secret Protection Act (“NCTSPA”) and a

                violation of the NCTSPA constitutes a violation of the UDTPA as a matter of law.

                Even if the Court determines that a violation of the NCTSPA does not give rise to

                a violation of the UDTPA as a matter of law, the Court should still amend the jury’s

                verdict under Question 2(a) based on the jury’s verdict regarding Qorvo’s NCTSPA

                claim and award of substantial compensatory and exemplary damages.
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          •   Qorvo is automatically entitled to treble damages on the trade secret portion of its

              UDTPA claim because the jury awarded Qorvo $31,315,215 in “actual damages”

              under the NCTSPA based on Akoustis’s unjust enrichment, and the UDTPA

              automatically trebles any “damages” awarded by the jury. By automatic trebling,

              the Court should amend the Judgment to award Qorvo $93,945,645 in

              compensatory damages in connection with its trade secret and UDTPA claims in

              aggregate.

       The grounds for this motion are further set forth in Plaintiff’s opening brief.




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  June 17, 2024



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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  QORVO, INC.                                         )
                                                      )
                                Plaintiff,            )
                                                      ) C.A. No. 21-1417-JPM
                         v.                           )
                                                      ) DEMAND FOR JURY TRIAL
  AKOUSTIS TECHNOLOGIES, INC. and                     )
  AKOUSTIS, INC.                                      )
                      Defendants.                     )
                                                      )
                                                      )
                                                      )
                                                      )

           [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO ALTER
            OR AMEND THE MAY 20, 2024 JUDGMENT REGARDING QORVO’S
               CLAIM FOR UNFAIR AND DECEPTIVE TRADE PRACTICES

          Before the Court is Plaintiff Qorvo Inc.’s Motion to Amend and/or Alter the Judgment as

  Entered Against Defendants Akoustis Technologies, Inc. and Akoustis, Inc. (collectively,

  “Akoustis”) on May 20, 2024 (D.I. 602) (the “Judgment”) (collectively, the “Motion”). After

  review and consideration thereof, the Court ORDERS that the Motion is hereby GRANTED, and

  specifically that:

          1.      The jury’s verdict is amended to reflect “Yes” under Question 2(a) on the Verdict

  Form, finding that Akoustis violated the North Carolina Unfair and Deceptive Trade Practices Act

  (“UDTPA”) in connection with misappropriation of Qorvo’s trade secret and confidential

  information;

          2.      The Judgment is amended to award Qorvo damages in connection with its UDTPA

  claim; and
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        3.     The Judgment is amended to award Qorvo treble damages in connection with its

  UDTPA claim, totaling $93,945,645 in compensatory damages in connection with its DTSA,

  NCTSPA, and UDTPA claims in aggregate.

        IT SO ORDERED this _________ day of ________________, 2024.



                                                 JON P. McCALLA
                                                 UNITED STATES DISTRICT JUDGE




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 17, 2024, I caused the foregoing to be electronically filed with

  the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

  participants.

         I further certify that I caused copies of the foregoing document to be served on

  June 17, 2024, upon the following in the manner indicated:

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